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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


CADENCE BANK, N.A.,

                       Plaintiff,

v.                                                            No. 2:09-cv-02540-BBD-cgc

LATTING ROAD PARTNERS, LLC,
WILLIAM D. MILLER, and
WILLIAM R. HYNEMAN,

                       Defendants.


            ORDER GRANTING PLAINTIFF’S SUPPLEMENTAL MOTION
                     FOR ATTORNEYS’ FEES AND COSTS


       On June 22, 2010, Plaintiff Cadence Bank, N.A. filed a Supplemental Motion for Attorney

Fees and Costs (D.E. #36). The instant motion was referred to United States Magistrate Judge

Charmiane G. Claxton for determination (D.E. #37).

       Pursuant to Local Rule 7.2, Defendants were required to respond to this motion within fifteen

days after service of the motion. L.R. 7.2(a). To date, no response has been filed. Accordingly,

based upon Defendants’ failure to respond and upon the Court’s determination that the supplemental

request for attorneys’ fees and costs is reasonable, Plaintiff’s Motion for Attorneys’ Fees and Costs

is GRANTED.

       IT IS SO ORDERED this 16th day of August, 2010.

                                                      s/ Charmiane G. Claxton
                                                      CHARMIANE G. CLAXTON
                                                      UNITED STATES MAGISTRATE JUDGE


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